          Case 1:19-cr-00018-ABJ Document 270 Filed 12/20/19 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA
                                                     Criminal No. 19-cr-18-ABJ
               v.

    ROGER J. STONE, JR.,

                                Defendant.


             GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
                FOR CONTINUANCE OF SENTENCING HEARING

        The United States of America respectfully opposes defendant Roger J. Stone’s motion to

continue his February 6, 2020, sentencing hearing.

        The defendant was convicted by a jury on November 15, 2019, of committing Obstruction

of Justice, False Statements, and Witness Tampering. Since then, the defendant has had over one

month to provide the Presentence Report (“PSR”) writer with his financial information, the totality

of which involves filling-out a form, known as a “PROB 48,” and providing back-up

documentation.1 It is the defendant’s burden to provide the requested financial information to the

PSR writer by the deadlines she sets, and the professed complexity of the defendant’s financial

affairs should not provide a basis for the defendant to remain on pre-sentence release for an

additional month. Moreover, the government does not believe that the defendant needs an

additional month on pre-sentence release to facilitate the completion of the PROB 48 form,

especially since the defendant has already provided his financial information to the Pretrial

Services Agency as part of his bond eligibility determination.




1
 A copy of this form can be found on the U.S. Probation Office for the District of Columbia’s
website, at https://www.dcp.uscourts.gov/Presentence_Investigations/Net%20Worth%20Long%
20Form.pdf
                                                1
         Case 1:19-cr-00018-ABJ Document 270 Filed 12/20/19 Page 2 of 2



       Furthermore, the state of the defendant’s financial affairs are of less importance in this case

than in other criminal matters. The defendant was convicted of committing non-financial crimes,

none of which require the payment of restitution or involve criminal forfeiture. Rather, the

defendant’s finances are only relevant to determining whether or not he can pay any fine issued by

the Court, or pay the costs of his incarceration or location monitoring.

       Of course, the government does not wish to burden the Probation Office. Accordingly, the

government contacted the Probation Office, which authorized the government to represent to the

Court that it is not seeking a continuance of the defendant’s February 6, 2020 sentencing hearing.

However, due to the voluminous nature of the documents submitted by the defendant to the

Probation Office, and the defendant’s representation that he plans to submit additional financial

documents in the near future, the Probation Office is respectfully requesting additional time, no

later than January 16, 2020, to submit its draft presentence report to the parties. The government

does not oppose that request.

       Accordingly, for the foregoing reasons, the government submits that the defendant’s

motion to continue his sentencing hearing should be denied.

                                                      Respectfully submitted,

                                                      JESSIE K. LIU
                                                      U.S. Attorney for the District of Columbia

                                                 By: /s/
                                                     Jonathan Kravis
                                                     Michael J. Marando
                                                     Assistant United States Attorneys

                                                      Adam C. Jed
                                                      Aaron S.J. Zelinsky
                                                      Special Assistant United States Attorney
                                                      555 4th Street NW
                                                      Washington, D.C. 20530

                                                 2
